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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                            :      Case No. 3:17-CV-72

                  Plaintiff                           :      Judge MOON


                                                      :
           -v-

    JASON KESSLER ET AL.                              :

                                                      :
                  Defendants


                  MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT



          Now comes defendant Jeff Schoep and moves the Court to dismiss the Plaintiff’s

    claims against it pursuant to FRCP 12.


                                               Respectfully Submitted,


                                               s/ Elmer Woodard
                                               ELMER WOODARD (VSB 27734)
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                                   CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on November 15, 2017 upon:

       All parties of record. No party is entitled to or has requested service by other means.

                                                         s/ Elmer Woodard

                                                         E. Woodard (VSB 27734)




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